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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

CARLOS A. RYERSON AND DEBRA                      §
FROST RYERSON                                    §
     Plaintiff,                                  §
                                                 §          Civil Action No. 1:18-cv-731
v.                                               §
                                                 §
US BANK NATIONAL ASSOCIATION                     §
NOT IN ITS INDIVIDUAL CAPACITY                   §
BUT SOLELY AS TRUSTEE FOR THE                    §
RMAC TRUST, SERIES 2016-CIT, AND                 §
RUSHMORE LOAN MANAGEMENT                         §
SERVICES, LLC                                    §
     Defendants.                                 §

                                   NOTICE OF REMOVAL


         Defendants U.S. Bank National Association, not in its individual capacity but solely as

Trustee for the RMAC Trust, Series 2016-CIT (“U.S. Bank”) and Rushmore Loan Management

Services, LLC (“Rushmore”) (collectively “Defendants") file this Notice of Removal of this

action from the District Court in the 207th Judicial District, Hays County, Texas to the United

States District Court for the Western District of Texas, Austin Division, the district and division

encompassing the place where the state court is located. This Notice of Removal is filed pursuant

to 28 U.S.C. §§ 1441 and 1446. In support hereof, Defendants will show:

                                         A. Introduction

         1.       On August 6, 2018, Plaintiffs, Carlos A. Ryerson and Debra Frost Ryerson

(“Plaintiffs”) filed their Original Petition and Request for Disclosures (“Petition”) in the 207th

Judicial District Court of Hays County, Texas, styled Carlos A. Ryerson and Debra Frost

Ryerson v. US Bank National Association, Not in its individual capacity but solely as Trustee for




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the RMAC Trust, Series 2016-CIT and Rushmore Loan Management Services, LLC, bearing

Cause Number 18-1783.

         2.       Defendants have not been served with process in this lawsuit. Thus, Defendants

timely file this notice of removal within the 30-day time dictated by 28 U.S.C. §1446(b).

         3.       Venue is proper in this Court pursuant to 28 U.S.C. §1446 because the District

Court for the Western District of Texas, Austin Division, is the district and division within which

this lawsuit is pending.

         4.       Pursuant to 28 U.S.C. §1446(a), attached hereto as Exhibit A and incorporated by

reference is a true and correct copy of the entire file of record with the Court in the 207th Judicial

District Court of Hays County, Texas, including all process, pleadings, and orders served.

         5.       Pursuant to 28 U.S.C. §1446(d), this Notice of Removal will be filed with the

207th Judicial District Court of Hays County, Texas, and a copy of this Notice of Removal will

also be served on Plaintiffs. Defendants have filed contemporaneously with this Notice a civil

cover sheet and separately signed certificate of interested persons and disclosure statement that

complies with FED. R. CIV. P. 7.1.

                                        B. Basis for Removal

         6.       Removal in this case is proper because this Court has diversity jurisdiction under

28 U.S.C. § 1332(a). Where there is complete diversity among parties and the amount in

controversy exceeds $75,000, an action may be removed to federal court.

         I.       Diversity of Citizenship

         7.       Based on the Petition, Plaintiffs are citizens of Texas. Petition at ¶¶ 2.1-2.2. For

the purposes of diversity jurisdiction, a person is considered a citizen of the state where the




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person is domiciled. Preston v. Tennet Healthsystem Mem. Med. Ctr., 485 F.3d 793, 797 (5th

Cir. 2007).

         8.        Rushmore Loan Management, LLC has one member, Roosevelt Management

Company. Roosevelt Management Company is registered to do business in Delaware and has its

principal place of business in New York. See 28 U.S.C. §1332(10). Thus, Rushmore is a citizen

of Delaware and New York.

         9.       U.S. Bank, which is sued in its capacity as trustee, is a national banking

association pursuant to federal law. When determining the citizenship of a trust for purposes of

diversity jurisdiction, it is the citizenship of the trustee which controls. Navarro Sav. Assoc. v.

Lee, 446 U.S. 458, 464-66 (1980). Pursuant to 28 U.S.C. § 1348, a national banking association

is deemed the citizen of its main office. At the time of the filing of the Petition and up through

the time of removal, U.S. Bank’s main office has been and continues to be located in Ohio under

its articles of association. Therefore, U.S. Bank is a citizen of Ohio.

         II.      Amount in Controversy

         10.      Plaintiffs assert claims for an unspecified amount of monetary damages with

respect to its right, title and interest in the Property exceed the $75,000.00 threshold for diversity

jurisdiction.

         11.      The Petition seeks injunctive relief in the form of a “stay of foreclosure under

TRCP 736.11” which prevents Defendants from foreclosing on the property. See Petition, at ¶

11.1. Plaintiffs allege lender liability – Special Relationship, constitutional violations based on

lending an amount greater than 80% of the fair market value, declaratory relief based on

Plaintiffs’ allege payment in full tendered into an escrow account for the benefit of Rushmore.

“In actions seeking declaratory relief of injunction relief the amount in controversy is measured



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by the value of the object of the litigation.” Leininger v. Leininger, 705 F.2d 727, 729 (5th Cir.

1983). Put another way, “[t]he amount in controversy, in an action for declaratory or injunctive

relief, is the value of the right to be protected or the extent of the injury to be prevented.” Id.

The court makes the amount in controversy determination from the perspective of the plaintiff;

the proper measure is the benefit or value to the plaintiff, not the cost to the defendant. Webb v.

Investacorp, Inc., 89 F.3d 252, 257 n.1 (5th Cir. 1996). Put another way, “[t]he amount in

controversy, in an action for declaratory or injunctive relief, is the value of the right to be

protected or the extent of the injury to be prevented.”                St. Paul Reinsurance Co., Ltd. v.

Greenberg, 134 F.3d 1250, 1252-1253 (5th Cir. 1998). In addition, when the validity of a

contract or a right to property is called into question in its entirety, the value of the property

controls the amount in controversy. Nationstar Mortgage, LLC v. Knox, No. 08-60887, 351 F.

App. 844, 848 (5th Cir. Aug. 25, 2009) (quoting Waller v. Prof'l Ins. Corp., 296 F.2d 545, 547–

48 (5th Cir. 1961)).

            12.         Moreover, as Plaintiffs seek injunctive relief to bar any foreclosure proceedings or

any transfer of an interest in real property,1 the property is the object of the present litigation.

Farkas v. GMAC Mortgage, L.L.C., 737 F.3d 338 (C.A.5 (Tex.)). (“The purpose of the injunctive

and declaratory relief, to stop the foreclosure sale of the properties by GMAC and Deutsche

Bank, establishes the properties as the object of the present litigation.”) “In actions enjoining a

lender from transferring property and preserving an individual’s ownership interest, it is the

property itself that is the object of the litigation; the value of that property represents the amount

in controversy.” Id. at *5 (citing Garfinkle v. Wells Fargo Bank, 483 F.2d 1074, 1076 (9th Cir.

1973).



1
    Petition, ¶ 11.1.

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         13.      According to the records of Hays County Appraisal District, the property at issue

has an approximate value of $771,670, well above the $75,000.00 limit for removal. A true and

correct copy of the Property Search Results from the Hays County Appraisal District is attached

hereto as Exhibit B and is incorporated herein, and the Court may take judicial notice of the

appraised value of the Property from the Hays County Central Appraisal District’s public

website at http://esearch.hayscad.com/Property/View/R100684 by searching using the Property

address or Property Account R100684. See FED. R. EVID. 201; Kew v. Bank of Am., N.A., No. H-

11-2824, 2012 WL 1414978, at 3 n.4 (S.D. Tex. Apr. 23, 2012) (taking judicial notice of

appraised value of property published on Harris County Appraisal District’s website to satisfy

amount in controversy requirement in removed mortgage foreclosure litigation). Accordingly,

the amount in controversy meets and exceeds the federal jurisdictional minimum of $75,000.00.

                                           C. Conclusion

         14.      Defendants remove this action from the 207th Judicial District Court of Hays

County, Texas, to the United States District Court for the Western District of Texas, Austin

Division, so that this Court may assume jurisdiction over the cause as provided by law.

                                                      Respectfully submitted,

                                                      BARRETT DAFFIN FRAPPIER
                                                      TURNER & ENGEL, LLP

                                                        /s/ Crystal Gee Roach
                                                      Crystal G. Roach
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                                                      ATTORNEY FOR DEFENDANTS




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                              CERTIFICATE OF SERVICE

        I certify that a copy of Notice of Removal was served by certified U.S. Mail, return
receipt requested, and regular U.S. Mail to the parties below on August 27, 2018.

Via email carlos.ryerson@ryersonlaw.com
Carlos A. Ryerson
Ryerson & Associates, P.C.
2800 Post Oak Blvd.
Suite 4100
Houston, Texas 77056

                                                  /s/ Crystal Gee Roach
                                                 Crystal Gee Roach




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                             LIST OF DOCUMENTS ATTACHED


         A. Docket sheet from Case No. 18-1783, Civil Case Information Sheet and Plaintiff’s
            Original Petition filed August 6, 2018, all executed processes in the case, if any, all
            answers, if any, all orders, if any;

         B. Printout from Hays County Central Appraisal District

         C. List of All Counsel of Record;

         D. Notice of Filing of Notice of Removal to Federal Court filed in the 207th District
            Court of Hays County, Texas;

         E. Disclosure Statement and Certificate of Interested Parties




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